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                             UNITED STATES DISTRICT COURT

                               DISTRICT OF SOUTH DAKOTA


                                      WESTERN DIVISION



 SIMON ZAIDMAN,                                                    5:24-CV-05077-RAL


                        Petitioner,

                                                            STIPULATED PRELIMINARY
        vs.                                                      INJUNCTION ORDER


 MOLLY PENTON-ZAIDMAN,

                        Respondent.



       This Court entered a temporary restraining order upon a Verified Petition for Return ofthe

Children to Mexico filed by the Petitioner, Simon Zaidman,against the Respondent, Molly Penton-

Zaidman, under the Hague Convention on the Civil Aspects ofInternational Child Abduction and

the International Child Abduction Remedies Act. This Court set a hearing for November 6 and 7,

2024, to hear evidence on a possible preliminary injunction or decision on the merits. Petitioner

and Respondent now have consented to a Stipulated Preliminary Injunction Order. Doc. 15. For

good cause, it is

       ORDERED that both Petitioner and Respondent are prohibited from removing C.Z. and

M.Z.(collectively the "Children") or causing the Children to he removed from the jurisdiction of

this Court, pending final disposition ofthe above-referenced Petition. It is further

       ORDERED that Petitioner shall surrender the Children's Austrian passports to the Court

upon arrival in the United States; these passports shall be returned to Petitioner at the conclusion
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ofthe Hague proceeding. The Children's U.S. passports shall likewise be returned to Respondent

at the conclusion ofthe Hague proceeding. It is further

        ORDERED that the two-day evidentiary hearing currently set for November 6, 2024, is

postponed to and shall now be a three-day evidentiary hearing on the Petition to be held on

February 3, 2025, February 4, 2025, and February 5, 2025,at the Rapid City U.S. Courthouse. It

is further


        ORDERED that the parties, through their counsel of record, shall confer regarding initial

disclosures and a proposed discovery plan, as required by Federal Rule of Civil Procedure 26(f).

If the parties cannot agree to such a discovery plan, they shall promptly contact this Court in a

joint filing setting forth what they agree upon and what they disagree upon for a discovery plan.



        DATED this 31st day of October,2024.

                                             BY THE COURT:




                                             ROBERTO A.
                                             CHIEF JUDGE
